Case 2:05-cr-20212-SH|\/| Document 46 Filed 07/07/05 Page 1 of 2 Page|D 45

 

IN 'rHE UNITED sTATEs DISTRICT COURT FILED
FOR THE WESTERN DIsTRICT 0F TENNESSEE
WESTERN r)IvIsloN 95 JUL -7 AH 7, 2b

 

UNITED STATES OF AN[ERICA

 

 

 

v.
GLENN JONES 05cr20212-2-Ma
ORDER ON ARRAIGNMENT
This cause came to be heard on % QB_§ the United States Attorney
for this district appeared on behalf of the vern ent, and the defendant appeared in person and with
counsel:

 

NAM…:MLT, who is Retainedeppointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.

VHe defendant, (not/ha.uia-g-made bond) (beirlg,a_s¥ate-'prt§f)iér) (being a federal
prisoner) (being held without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal.
UNITED STATES MAGISTRATE ]UDGE

CHARGES -18:2118(a)
ROBBERY 01= CONTROLLED sUBsTANCE

Attorney assigned to Case: T. Arvin

Age=j7

\'his document entered on the docket Sheet In com |iance

twin sure ss and/or 32(:>) mch on _"Z'/Z 'O

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
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Honorable Sarnuel Mays
US DISTRICT COURT

